











Opinion issued April 8, 2005











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01-05-00325-CV
____________

IN RE PAUL J. MCGEE, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator, Paul J. McGee, has filed a petition for writ of mandamus, challenging
an order denying relator’s motion to dismiss for lack of jurisdiction signed by Judge
Yarbrough on December 23, 2004.


  We deny relator’s petition for a writ of
mandamus.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Higley and Bland.


